              Case 21-00034-ELG                   Doc 1      Filed 02/02/21 Entered 02/02/21 18:29:21                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DISTRICT OF COLUMBIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                LEON USA Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1724 L St NW
                                  Washington, DC 20036
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  District of Columb                                              Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  655 New York Avenue NW Washington, DC 20001
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.leon.co/us


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    LEON USA Inc.                                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                  Relationship
                                                  District                                 When                              Case number, if known



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Debtor   LEON USA Inc.                                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                                                              655 New York Avenue NW
                                             Where is the property?           Washington, DC, 20001-0000
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No

                                                Yes.    Insurance agency      Plasteridge Insurance
                                                        Contact name          Keith Charlton
                                                        Phone                 561-630-4955


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor     LEON USA Inc.                                                                    Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DISTRICT OF COLUMBIA

Case number (if known)                                                   Chapter      7
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



                                                                                                                     wholly owned
Debtor     Leon Falafel LLC                                                        Relationship to you               subsidiary
District   District of Columbia                       When                         Case number, if known

                                                                                                                     wholly owned
Debtor     Leon Meatballs LLC                                                      Relationship to you               subsidiary
District   District of Columbia                       When                         Case number, if known

                                                                                                                     wholly owned
Debtor     LEON Mosaic LLC                                                         Relationship to you               subsidiary
District   District of Columbia                       When                         Case number, if known




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             Case 21-00034-ELG                                    Doc 1              Filed 02/02/21 Entered 02/02/21 18:29:21                                                          Desc Main
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 Fill in this information to identify the case:

 Debtor name            LEON USA Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF DISTRICT OF COLUMBIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           654,509.90

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           654,509.90


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       10,360,192.48


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         10,360,192.48




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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                                                                     Document      Page 8 of 62
 Fill in this information to identify the case:

 Debtor name         LEON USA Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DISTRICT OF COLUMBIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    HSBC USA
                    550 S Tyron St, 35th Fl
                    Suite 3520
           3.1.     Charlotte, NC 28202                                     Checking                        0161                                     $2,500.00


                    HSBC USA
                    550 S Tyron St, 35th Fl
                    Suite 3520
           3.2.     Charlotte, NC 28202                                     Checking                        2288                                             $0.00


                    HSBC USA
                    550 S Tyron St, 35th Fl
                    Suite 3520
           3.3.     Charlotte, NC 28202                                     Checking                        2296                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $2,500.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor           LEON USA Inc.                                                                    Case number (If known)
                  Name

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Letters of credit for the benefit of Brookfield Properties                                                         $270,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                    Insurance Broker
                    Keith Charlton
                    Plastridge Insurance
                    10337 N Military Trail
           8.1.     Palm Beach, FL 33410                                                                                                $17,315.00




 9.        Total of Part 2.                                                                                                        $287,315.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                  5,519.35   -                                0.00 = ....             $5,519.35
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                      2.23   -                                0.00 = ....                   $2.23
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    13.14    -                                0.00 = ....                 $13.14
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    12.20    -                                0.00 = ....                 $12.20
                                              face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                                      520.00    -                               0.00 =....                 $520.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                    11,039.98   -                               0.00 =....             $11,039.98
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                         $17,106.90
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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 Debtor         LEON USA Inc.                                                                 Case number (If known)
                Name


        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                      Valuation method used   Current value of
                                                                                                      for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Leon Falafel LLC                                               100           %                                             $0.00




           15.2.     LEON Mosaic LLC                                                100           %                                             $0.00




           15.3.     Leon Meatballs LLC                                             100           %                                             $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of       Valuation method used   Current value of
                                                      physical inventory      debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Food stock: fresh
           produce, frozen and
           ambient foods                              1/24/21                             Unknown                                         $2,360.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Food packaging                                                                    $0.00                                          $982.00



 23.       Total of Part 5.                                                                                                           $3,342.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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                Name


               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Furniture and fixtures - please see attached
           Exhibit 1 with purchase price amounts                                        $222,939.00     net book value                   $222,939.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           IT equipment including but not limited to data
           cabinets, iPads and music system, and CCTV
           devices.                                                                      $35,624.00     net book value                    $35,624.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $258,563.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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                Name



           General description                                                Net book value of       Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest       for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Restaurant kitchen equipment - please see
           attached Exhibit 2 with purchase price
           amounts                                                                    $85,683.00      net book value                     $85,683.00




 51.       Total of Part 8.                                                                                                           $85,683.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Leasehold
                     improvements: rental
                     lease with Brookfield
                     Properties                                                        Unknown                                             Unknown




 56.       Total of Part 9.                                                                                                                   $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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                Name


               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer mailing list: approximately 1564
            customer names and e-mails                                                      $0.00                                              $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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 Debtor          LEON USA Inc.                                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $2,500.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $287,315.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $17,106.90

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $3,342.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $258,563.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $85,683.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $654,509.90           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $654,509.90




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
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LEON USA Inc.
(LEON 655 New York Avenue)                                                                                                              Exhibit 1
FF&E Inventory

                                                                                                                    Est Value
                                                                                                                                Qnty   Total Value
                                                                                                                      (new)


SEATING

     1 [CH-1] Y Frame Leather Dining Chair - 18“H Gunmetal Frame, Cortina Florence Terra (Saddle)                     349        48      16,752.00

     2 [CH-2] Union Stool - 24” H - Gunmetal Finish & Cortina Florence Terra (Saddle) Leather                         189        14       2,646.00
       [BB-1] 25“ x 5‘ x 18“H Banquette, 4” x 17’5“ Natural Hot Rolled Steel Finish, Strait Back Finish, Architex
     4 Fabrics: Caracas, Spice - Cortina/Florence/Terra Leather Seat & Upholstery                                     913        28      25,564.00

     5 External furniture / Slay chairs                                                                               180        30       5,400.00

TABLES
       [TT-1a] Salvaged American White Oak Top with Metal Edge Band, 1-3/4“ x 20” x 24“, Sanded Smooth,
     5 Dark Danish Walnut & Natural Hot Rolled Steel Finish                                                           227        18       4,086.00
       [TT-1a] Non-Fixed I-Beam Base - Center Post - 16” x 16“ Base Plate - 28” H - Natural Hot Rolled Steel
     6 Finish                                                                                                         201        18       3,618.00
       [TT-1b] Printed/Branded Graphic Table Top with Glass Top & Hot Rolled Steel Edge Band, 1-3/4“ x 20” x
     7 24“, Sanded Smooth, Printed Graphic & Clear Finish                                                             259        10       2,590.00
       [TT-1b] Non-Fixed I-Beam Base - Center Post - 16” x 16“ Base Plate - 28” H - Natural Hot Rolled Steel
     8 finish                                                                                                         201        10       2,010.00

     9 [TT-2] Metal Strap Leg Base, 28“ H, Natural Hot Rolled Steel Finish                                            155        4          620.00
       [TT-3b] Salvaged American White Oak Top with Metal Edge Band, 1-3/4” x 20“ Round, Sanded Smooth,
    10 Dark Danish Walnut & Natural Hot Rolled Steel Finish                                                           167        2          334.00

    12 [TT-3b] Fixed I-Beam Base - 18” H with 12” x 12” Base Plate - Gunmetal Finish                                  127        1          127.00

SERVICE STATIONS                                                                                                                               -
       Small Service Station on Casters with Stainless Steel Counter Top & Condiment Box - 18” x 34“ x 60”H,
    14 Dark Danish Walnut & Hot Rolled Steel, Clear Finish                                                            1500       1        1,500.00
       Medium Service Station on Casters with Stainless Steel Counter Top & Condiment Box - 18“ x 46” x 60“H
    16 Dark Danish Walnut & Hot Rolled Steel, Clear Finish                                                            3231       2        6,462.00

Additional Equipment                                                                                                                           -

    17 Eversys espresso, E4 Barista machine                                                                          21000       1       21,000.00

    18 Industrial Toilet ADA grab bars                                                                                260        6        1,560.00

    19 Industrial Toilet paper dispensers                                                                             230        2          460.00

    20 Fabricated cortene steel marketing A-frame                                                                     400        2          800.00

    21 Steel/walnut bookshelf                                                                                         800        1          800.00

    22 Steela and walnut cabinet, slidign doors                                                                       2000       1        2,000.00

    23 Cash Safe                                                                                                      1500       1        1,500.00




                                                                                                                     TOTAL               99,829.00
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                                                                                                      Quote
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                                                                                                            Exhibit 2
                                            Project:                             From:
                                            Leon Restaurant ‐ 649 New York       Singer Equipment Co. ‐
                                            Ave                                  Philadelphia
                                            649 New York Ave                     George Balzer
                                            Washington, DC 20001                 180 Heller Place
                                                                                 Bellmawr, NJ 08031
                                                                                 856‐559‐4150 (Contact)
  Project Code: 3941

                       Please allow 6‐8 weeks from receipt of deposit for equipment delivery.
   Item      Qty                                   Description                                       Sell         Sell Total
   1          1 ea WALK‐IN COOLER                                                             $13,705.00        $13,705.00
                   Arctic Industries Model No. COOLER
                   Cooler
                   7'8" X 14'6" X 7 8 1/2" OVERALL COOLER NSF/UL Approved
                   No floor in cooler
                   LED lighting
                   indoor remote refrigeration systems
              1 ea FREIGHT Freight from factory to jobsite                                     $1,050.00         $1,050.00
                                                                                         ITEM TOTAL:            $14,755.00
   2                   REMOTE CONDENSER
                       Included in item 1
   2.2                 EVAPROATOR COIL
                       Included in item 1
   3          4 ea CHEST FREEZER                                                                  $873.00         $3,492.00
                   Centaur Model No. CSL‐58
                   Chest Freezer, 13.4 cu. ft. capacity, (1) hinged solid lid with lock,
                   interior light, digital temperature display, white aluminum interior &
                   exterior, self‐contained side‐mount refrigeration, R404, 1/6 HP,
                   115v/60/1‐ph, 2.0 amps, NEMA 5‐15P, 8.2 ft cord, cULus Classified, UL
                   EPH Classified, NSF
              4 ea NOTE: Must be purchased in container quantities, not stocked in the
                   US. (90‐day leadtime)
              4 ea 1 year parts & labor, additional 4 year warranty on compressor
                                                                                           ITEM TOTAL:           $3,492.00
   4         16 ea WIRE SHELVING                                                                   $38.00          $608.00
                   Eagle Group Model No. 2448VG Packed 4 ea
                   Shelf, wire, 48"W x 24"D, patented QuadTruss® design, includes (4)
                   pairs of split sleeves per shelf, 800 lbs. capacity, Valu‐Gard® green
                   epoxy finish, NSF
              8 ea 2436VG Shelf, wire, 36"W x 24"D, patented QuadTruss® design,                    $32.00           $256.00
                   includes (4) pairs of split sleeves per shelf, 800 lbs. capacity, Valu‐
                   Gard® green epoxy finish, NSF
             24 ea P86‐VG Post, stationary, 86"H, grooved in 1" increments, includes post          $11.00            $264.00
                                                                                                                Init﻿ial: ______
Leon Restaurant ‐ 649 New York Ave                                                                                Page 1 of 15
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   Item     Qty                                 Description                                         Sell     Sell Total
                   cap & leveling bolt, Valu‐Gard® green epoxy finish, NSF
                                                                                       ITEM TOTAL:          $1,128.00
   5         2 ea BUN / SHEET PAN RACK                                                        $574.00       $1,148.00
                  Channel Manufacturing Model No. 411S
                  Bun Pan Rack, mobile, 28‐1/2"W x 18"D x 70‐1/4"H, side load, open
                  sides, 3" spacing, capacity (20) 18" x 26" bun pans, welded 18/304
                  stainless steel construction, 5" swivel stem casters with non‐marking
                  tread, NSF, Made in USA (published shipping weight does not reflect
                  50lb. pallet)
             2 ea 5‐year warranty on parts and 90 days labor, standard
                                                                                      ITEM TOTAL:           $1,148.00
   6              SPARE NO.
   7               SPARE NO.
   8        15 ea WIRE SHELVING                                                                   $40.00       $600.00
                  Eagle Group Model No. 2448VG Packed 4 ea
                  Shelf, wire, 48"W x 24"D, patented QuadTruss® design, includes (4)
                  pairs of split sleeves per shelf, 800 lbs. capacity, Valu‐Gard® green
                  epoxy finish, NSF
            20 ea 1836VG Shelf, wire, 36"W x 18"D, patented QuadTruss® design,                    $24.00       $480.00
                  includes (4) pairs of split sleeves per shelf, 800 lbs. capacity, Valu‐
                  Gard® green epoxy finish, NSF
            10 ea 1436VG Shelf, wire, 36"W x 14"D, patented QuadTruss® design,                    $26.00       $260.00
                  includes (4) pairs of split sleeves per shelf, 800 lbs. capacity, Valu‐
                  Gard® green epoxy finish, NSF
             5 ea 1430VG Shelf, wire, 30"W x 14"D, patented QuadTruss® design,                    $25.00       $125.00
                  includes (4) pairs of split sleeves per shelf, 800 lbs. capacity, Valu‐
                  Gard® green epoxy finish, NSF
            16 ea CP86‐VG Caster Post, 86"H, grooved in 1" increments, Valu‐Gard®                 $12.00       $192.00
                  green epoxy finish, NSF
             8 ea CSS5‐300 Stem Caster, swivel, 5" wheel diameter, 1‐1/4" wheel face,             $20.00       $160.00
                  300 lb. capacity, resilient tread, donut bumper included, EAGLEbrite®
                  zinc, NSF
             8 ea CSB5‐300 Stem Caster with Brake, 5" wheel diameter, 1‐1/4" wheel                $24.00       $192.00
                  face, 300 lb. capacity, resilient tread, donut bumper included,
                  EAGLEbrite® zinc, NSF
            32 ea P63‐VG Post, stationary, 63"H, grooved in 1" increments, includes post           $9.00       $288.00
                  cap & leveling bolt, Valu‐Gard® green epoxy finish, NSF
                                                                                          ITEM TOTAL:       $2,297.00
   9         4 ea LOCKER                                                                         $155.00      $620.00
                  NEXEL Model No. P6126AS
                  Paramount Locker, six tier, (6) doors, 12"Wx12"Dx72"H opening, 12"W
                  O.A., 16 gauge steel doors, 5‐knuckle hinges with welded door frame,
                  pad lockable friction hasp, extra wide louvers, powder coat finish, 6"
                  legs, assembled
             4 ea (G) Gray
                                                                                          ITEM TOTAL:         $620.00
   10             MOP SINK

                                                                                                           Init﻿ial: ______
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   Item     Qty                                  Description                                          Sell      Sell Total
                   Existing
   11        1 ea WALL SHELF                                                                       $143.00        $143.00
                  Custom Diamond Intl. Model No. WALL SHELF
                  Custom fabricated stainless steel wall shelf
                                                                                          ITEM TOTAL:            $143.00
   12        1 ea WATER FILTRATION SYSTEM, FOR COMBINATION APPLICATIONS                          $933.00         $933.00
                  Everpure Model No. EV932944
                  Everpure® High Flow CSR Quad‐4FC System, for combination beverage
                  applications, coffee brewers, fountain, ice & steam, 60,000 gallon
                  capacity, 10 gpm flow rate, 0.2 micron rating, (1) EC110 prefilter, (4)
                  4FC filters, (1) SS‐XL scale inhibitor
             1 ea Note: This system requires (4) cartridges, (1) pre‐filter & (1) scale
                  reduction feeder.
                                                                                          ITEM TOTAL:            $933.00
   13             SPARE NO.
   14              SPARE NO.
   15        1 ea ICE BIN FOR ICE MACHINES                                                          $850.00       $850.00
                  Manitowoc Model No. D320
                  Ice Bin, 22"W x 34"D x 38"H, with side‐hinged front‐opening door, side
                  grips, AHRI certified 263 lb ice storage capacity (8.9 cu. ft.), for top‐
                  mounted ice maker, Duratech exterior, NSF
             1 ea WARRANTY‐BIN/DISP 3 year parts & labor warranty, standard
             1 ea Legs, 6" adjustable stainless steel, standard
                                                                                            ITEM TOTAL:          $850.00
   16        1 ea ICE CUBER                                                                       $2,794.00     $2,794.00
                  Manitowoc Model No. IYT0420A
                  Indigo NXT™ Series Ice Maker, cube‐style, air‐cooled, self‐contained
                  condenser, 22"W x 24‐1/2"D x 21‐1/2"H, production capacity up to 460
                  lb/24 hours at 70°/50° (375 lb AHRI certified at 90°/70°), DuraTech™
                  exterior, half‐dice size cubes, R410A, NSF, cULus, CE, ENERGY STAR®
             1 ea WARRANTY‐ICE‐SC 3 year parts & labor (Machine), 5 year parts & labor
                  (Evaporator), 5 year parts & 3 years labor (Compressor), standard
             1 ea (‐161) 115v/60/1‐ph, 11.3 amps
                                                                                            ITEM TOTAL:        $2,794.00
   17             SPARE NO.
   18              SPARE NO.
   19              SPARE NO.
   20              SPARE NO.
   21        1 ea SINK, (3) THREE COMPARTMENT                                                    $3,421.00      $3,421.00
                  Custom Diamond Intl. Model No. 3 COMP SINK
                  Custom fabricated stainless steel 3 compartment sink
                                                                                          ITEM TOTAL:          $3,421.00
   22        1 ea PRE‐RINSE FAUCET ASSEMBLY, WITH ADD ON FAUCET                                  $382.00         $382.00
                  T&S Brass Model No. B‐0133‐ADF12‐B
                  EasyInstall Pre‐Rinse Unit, with mixing faucet, includes 6" wall
                                                                                                              Init﻿ial: ______
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   Item     Qty                                  Description                                         Sell     Sell Total
                    bracket, wall mount base, 8" centers, B‐0044‐H stainless steel flexible
                    hose with polyurethane inner hose, overhead spring body & (B‐0107)
                    spray valve, 18" riser, add‐on faucet with (062X) 12" swing nozzle,
                    Eterna cartridges with spring checks, lever handles, 1/2" NPT female
                    inlets, EPAct2005 compliant
             1 ea   B‐0230‐K Installation Kit , (2) 1/2" NPT nipples, lock nuts & washers, (2)     $28.00        $28.00
                    short "Ell" 1/2" NPT female x male
                                                                                           ITEM TOTAL:         $410.00
   23        1 ea   WALL / SPLASH MOUNT FAUCET                                                    $135.00      $135.00
                    T&S Brass Model No. B‐0231‐CC
                    Sink Mixing Faucet, 12" swing nozzle, wall mounted, 8" centers on sink
                    faucet with 1/2" IPS CC male inlets, lever handles
                                                                                           ITEM TOTAL:         $135.00
   24        2 ea   SHELVING, WALL MOUNTED                                                         $64.00      $128.00
                    Eagle Group Model No. GWB1848VG
                    Shelf Kit, wall mount, 48"W x 18"D, (1) wire shelf with patented
                    QuadTruss® design, (2) 18"W stationary wall mount brackets, Valu‐
                    Gard® green epoxy finish
                                                                                           ITEM TOTAL:         $128.00
   25        2 ea   WIRE SHELVING                                                                  $24.00       $48.00
                    Eagle Group Model No. 1824VG Packed 4 ea
                    Shelf, wire, 24"W x 18"D, patented QuadTruss® design, includes (4)
                    pairs of split sleeves per shelf, 800 lbs. capacity, Valu‐Gard® green
                    epoxy finish, NSF
             4 ea   WB18‐VG Stationary Wall Mount Bracket, wire, end unit (shelf sold              $20.00        $80.00
                    separately), for 18"D shelf, includes (1) single shelf support & wall
                    mounting plate, Valu‐Gard® green epoxy finish, NSF
                                                                                           ITEM TOTAL:         $128.00
   26               SPARE NO.
   27               SPARE NO.
   28




                                                                                                            Init﻿ial: ______
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   Item     Qty                                 Description                                       Sell     Sell Total
             1 ea 208v/60/1‐ph, 32.0 amps, 6kW booster (3 wire plus ground required)
                                                                                       ITEM TOTAL:        $4,608.00
   29        1 ea DISPOSER                                                                   $1,790.00    $1,790.00
                  InSinkErator Model No. SS‐100‐12A‐MS
                  SS‐100™ Complete Disposer Package, with 12" diameter bowl, 6‐5/8"
                  diameter inlet, with removable splash baffle & reversible bowl cover,
                  1 HP motor, stainless steel construction, includes syphon breaker,
                  solenoid valve, flow control valve, manual switch, single direction
             1 ea (1) year parts & labor warranty from date of installation (standard)
             1 ea 115v/60/1‐ph, 11.6 amps
             1 ea SYPHON 45DEG Syphon breaker upgrade, chrome, 45° fittings (replace           $202.00       $202.00
                  with 13412)
                                                                                       ITEM TOTAL:        $1,992.00
   30        1 ea HAND SINK                                                                    $314.00      $314.00
                  Eagle Group Model No. HSAN‐10‐F
                  Hand Sink, wall mount, 9‐3/4" x 13‐1/2" x 6‐3/4" deep bowl, splash
                  mount gooseneck faucet, deep‐drawn seamless design‐positive drain,
                  inverted "V" edge, 304 stainless steel construction, NSF
                                                                                       ITEM TOTAL:          $314.00
   31             SPARE NO.
   32              SPARE NO.
   33              SPARE NO.
   34              SPARE NO.
   35              SPARE NO.
   36        1 ea WORK TABLE                                                                $1,305.00      $1,305.00
                  Custom Diamond Intl. Model No. WRK TABLE
                  Custom fabricated stainless steel work table
                                                                                      ITEM TOTAL:         $1,305.00
   37              SPARE NO.
   38        1 ea TABLE MOUNTED SHELF                                                         $828.00        $828.00
                  Custom Diamond Intl. Model No. SHELF
                  Custom fabricated stainless steel table mounted shelf
                                                                                      ITEM TOTAL:           $828.00
   39              SPARE NO.
   40              SPARE NO.
   41        1 ea WORK TABLE                                                                $1,303.00      $1,303.00
                  Custom Diamond Intl. Model No. WORK TABLE
                  Custom fabricated stainless steel work table
                                                                                      ITEM TOTAL:         $1,303.00
   42              SPARE NO.
   43        1 ea TABLE MOUNTED SHELF                                                         $828.00        $828.00
                  Custom Diamond Intl. Model No. SHELF
                  Custom fabricated stainless steel table mounted shelf
                                                                                      ITEM TOTAL:           $828.00
                                                                                                         Init﻿ial: ______
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   Item       Qty                                 Description                                       Sell     Sell Total
   44          1 ea FOOD PROCESSOR, BENCHTOP / COUNTERTOP                                      $946.00         $946.00
                    Robot Coupe Model No. R2N
                    Commercial Food Processor, 3 liter gray polycarbonate bowl with
                    handle, vegetable prep attachment with external ejection, kidney‐
                    shaped opening, includes: (1) "S" blade (27055), (1) 2mm grating disc
                    (27577), (1) 4mm slicing disc (27566), continuous feed, bowl
                    attachment designed for vertical cutting & mixing, on/off & pulse
                    switch, single speed, 1725 RPM, 120v/60/1‐ph, 7.0 amps, 1 HP, NEMA 5‐
                    15P, cETLus, ETL‐Sanitation
               1 ea 1 year parts & labor warranty
               1 ea 3 year motor warranty
                                                                                        ITEM TOTAL:           $946.00
   45               SPARE NO.
   46               SPARE NO.
   47               REACH IN FREEZER
                    Deleted by Owner
   48          1 ea WORK TABLE W/ SINK                                                         $1,926.00     $1,926.00
                    Custom Diamond Intl. Model No. WORK TABLE
                    Custom fabricated stainless steel work table with sink
                                                                                          ITEM TOTAL:       $1,926.00
   49          1 ea DECK MOUNT FAUCET                                                            $132.00      $132.00
                    T&S Brass Model No. B‐0221
                    Mixing Faucet, deck mount, 12" swing nozzle, 8" centers on deck
                    faucet with 1/2" IPS eccentric flanged female inlets, lever handles
                                                                                          ITEM TOTAL:         $132.00
   50          2 ea WALL SHELF                                                                   $395.00      $790.00
                    Custom Diamond Intl. Model No. WALL SHELF
                    Custom fabricated stainless steel wall shelf
                                                                                          ITEM TOTAL:         $790.00
   51               SPARE NO.
   52               SPARE NO.
   53               ICE TEA BREWER
                    Deleted By Owner
   54          1 ea HAND SINK                                                                 $314.00          $314.00
                    Eagle Group Model No. HSAN‐10‐F
                    Hand Sink, wall mount, 9‐3/4" x 13‐1/2" x 6‐3/4" deep bowl, splash
                    mount gooseneck faucet, deep‐drawn seamless design‐positive drain,
                    inverted "V" edge, 304 stainless steel construction, NSF
                                                                                       ITEM TOTAL:            $314.00
   55‐100           SPARE NO.
   101         1 ea REACH‐IN REFRIGERATOR                                                      $2,238.00     $2,238.00
                    Hoshizaki Model No. CR1S‐FSL
                    Commercial Series Refrigerator, reach‐in, one‐section, 22.8 cu. ft.,
                    self‐contained refrigeration system, solid state digital controller with
                    temperature alarms & LED display, stainless steel exterior front &
                    sides, stainless steel interior, standard depth, full height solid left
                                                                                                           Init﻿ial: ______
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   Item     Qty                                  Description                                          Sell     Sell Total
                    hinged door, (3) standard shelves, (4) 4" heavy duty casters (2 with
                    brakes), 1/5 HP, NEMA 5‐15P, cETLus, ETL‐Sanitation, ENERGY STAR®
             1 ea   Warranty: 3‐Year parts & labor on entire machine
             1 ea   Warranty: 5‐Year parts on compressor
             1 ea   115v/60/1‐ph, 4.0 amps, standard
             1 ea   Door hinged on left, standard
             1 ea   Casters, 4" (set of 4), field installed, standard
                                                                                           ITEM TOTAL:        $2,238.00
   102       1 ea WORK TABLE                                                                     $1,679.00    $1,679.00
                  Custom Diamond Intl. Model No. WORK TABLE
                  Custom fabricated stainless steel work table
                                                                                           ITEM TOTAL:        $1,679.00
   103       1 ea WALL MOUNTED OVEN RACK                                                          $604.00       $604.00
                  Custom Diamond Intl. Model No. WALL RACK
                  Custom fabricated stainless steel wall mounted oven rack
                                                                                           ITEM TOTAL:          $604.00
   104       1 ea WALL SHELF                                                                      $253.00       $253.00
                  Custom Diamond Intl. Model No. WALL SHELF
                  Custom fabricated stainless steel wall shelf
                                                                                           ITEM TOTAL:          $253.00
   105       1 ea DIPPER WELL                                                                     $292.00       $292.00
                  Server Products Model No. 87740
                  CW, CONSERVEWELL™ MOUNTED UTENSIL HOLDER, keeps utensils
                  above 140°F, with key slot mounting brackets and (2) short‐handled,
                  utensil compartments: 1/9‐size, 4" deep stainless steel, pans (90106),
                  for use with plastic handled utensils and non‐gel‐filled dishers, 400
                  watts, 120v/60/1‐ph, 3.3 amps, cord, NEMA 5‐15P, cULus, NSF
             1 ea 2‐Year warranty
                                                                                        ITEM TOTAL:             $292.00
   106            SPARE NO.
   107              SPARE NO.
   108       1 ea MICROWAVE OVEN                                                               $958.00           $958.00
                  Panasonic Model No. NE‐17523
                  PRO1 Commercial Microwave Oven, 1700 Watts, 0.6 cu. ft. capacity,
                  compact, (15) power levels, 3‐stage cooking, 60 program memory
                  capacity, self‐diagnostics, oven cycle counter, LCD digital display with
                  countdown, see‐thru left hinged door, programmable lock, stackable,
                  LED interior light, UL, ETL, NSF
             1 ea 3 year parts & labor warranty and 3 year magnatron warranty
             1 ea 208v/60/1‐ph, 13.6 amps, NEMA 6‐20P
                                                                                        ITEM TOTAL:             $958.00
   109       4 ea RICE / GRAIN COOKER                                                          $290.00         $1,160.00
                  Town Equipment Model No. 57137
                  RiceMaster® Rice Cooker/Steamer, electronic, 37 cup uncooked
                  capacity, one touch, auto cook/hold, cooks in 43 minutes, 120v/60/1‐
                  ph, 18 amps, 2160 watts, ETL, NSF

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   Item     Qty                                  Description                                         Sell     Sell Total
                                                                                         ITEM TOTAL:         $1,160.00
   110       2 ea COMBI OVEN, ELECTRIC                                                         $8,793.00    $17,586.00
                  RATIONAL Model No. B618106.12
                  (QUICK SHIP) (SCC 61 E 208V Three Phase) SelfCooking Center® Combi
                  Oven/Steamer, electric, (6) 13" x 18" half size sheet or (6) 12" x 20" full
                  size hotel pan capacity, iCookingControl with 7 modes,
                  HiDensityControl®, iLevelControl, Efficient CareControl, Combi‐
                  Steamer with 3 modes, core temp probe with 6 point measurement,
                  hand shower with automatic retracting system, ethernet interface,
                  208v/60/3‐ph, 30.8 amps, 11.1 kW (dual voltage: retrofitable to
                  240v/60/3‐ph, 35.5 amps, 11.1 kW), cULus, NSF, ENERGY STAR®
             2 ea NOTE: All discounts subject to approval by manufacturer
             2 ea 2 years parts and labor warranty
             1 ea CAP Chef Assistance Program, a RATIONAL certified Chef conducts 4
                  hours/location specialized application training with personnel, no
                  charge
             1 ea 9999.9812 Pre‐Installation Site Survey, ensures that the site has proper       $224.00        $224.00
                  space and connections for gas, electric, drain & water, includes 50
                  miles (100 miles round trip) from the installer, can only be purchased
                  with a Certified Installation, THIS ITEM IS NON‐DISCOUNTABLE, USA
                  ONLY (NET)
             1 ea 9999.9951 RCI Rational Certified Installation, new certified installation     $1,120.00     $1,120.00
                  cost for a countertop model is $1000 for the first unit (61/62/101/102)
                  (Pricing based on a 50 mile radius, Additional charges may apply, See
                  attached installation flyer for details) THIS ITEM IS NON‐
                  DISCOUNTABLE, USA ONLY (NET)
             1 ea 9999.9957 RCI Rational Certified Installation, additional countertop           $896.00        $896.00
                  unit installed at same location on same day will be an additional $800
                  per countertop unit (61/62/101/102) (Pricing based on a 50 mile radius,
                  Additional charges may apply, See attached installation flyer for
                  details) THIS ITEM IS NON‐DISCOUNTABLE, USA ONLY (NET)
             2 ea 8720.1552US Installation Kit, for electric SCC WE/CMP 61 (208/60/3 &           $430.00        $860.00
                  240/60/3); electric SCC WE/CMP 101 (440/60/3 & 480/60/3); electric SCC
                  WE/CMP 62 (440/60/3 & 480/60/3) THIS ITEM IS NON‐DISCOUNTABLE,
                  USA ONLY (NET)
             2 ea 56.00.210A Cleaner tablet without Phosphorus, for ALL                           $59.00        $118.00
                  SelfCookingCenter® units since 2004 & CombiMaster® Plus units with
                  article #BXXXXXX or Serial MI series since 4/2017, goes up to 70%
                  further than liquid cleaner, “FREIGHT CLASS 85 LIMITED QUANTITY”
                  (minimum order quantity: 2pcs, unless ordered with a unit)
             2 ea 56.00.562 Care Tablets, bucket of 150 packets for all SelfCooking               $75.00        $150.00
                  Center® units from 10/2008, with CareControl ‐ Serial SG, SH or SI
                  series (minimum order quantity: 2pcs, unless ordered with a unit)
             1 ea 60.71.927 Combi‐Duo Closed Stacking Kit, Mobile, casters, for electric        $1,033.00     $1,033.00
                  or gas SCC 61 or CMP 61 stacked on electric SCC 61, SCC 101, CMP 61, or
                  C P 101
             1 ea 9999.9959 RCI Rational Certified Installation, new certified installation      $224.00        $224.00
                  cost for a Combi‐Duo stacked unit is $200 for the first two units for
                  double‐stack (Pricing based on a 50 mile radius, Additional charges
                  may apply, See attached installation flyer for details) THIS ITEM IS
                                                                                                            Init﻿ial: ______
Leon Restaurant ‐ 649 New York Ave                                                                            Page 8 of 15
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   Item     Qty                                 Description                                         Sell     Sell Total
                  NON‐DISCOUNTABLE. USA ONLY (NET)
             2 ea 42.00.162 Rational USB Data Memory Stick, for transferring of cooking           $22.00        $44.00
                  programs and HACCP data between units & computers (NET)
             2 ea Door hinged on right std.
             1 ea 60.74.973 UltraVent Recirculating Condensation Hood for electric             $2,926.00     $2,926.00
                  Combi‐Duo stacked units, SelfCookingCenter® 61, SelfCookingCenter®
                  101, CombiMaster® Plus 61 or CombiMaster® Plus 101, two‐speed high
                  power fan, 165‐335CFM, includes (2) easy clean grease filters, stainless
                  steel construction, 3.6 amps, 120v/60/1‐ph, NEMA 5‐15P, UL 197 & 507,
                  CSA C22.2 109 & 113, can be retrofitted, does not come from the
                  factory installed, works on right or left hinge doors. Do Not Use with
                  VarioSmoker. (Confirm acceptance for local code requirement prior to
                  ordering)
             1 ea NOTE: If local jurisdictional authorities require fire suppression for any
                  Ultravent® (except the XS Model), contact a local ANSUL distributor. It
                  is the owner's responsibility to purchase the ANSUL RATIONAL fire
                  suppression kit from the distributor. The locally licensed ANSUL
                  distributor can install, charge, commission & tag the system. The
                  commissioning is also the commencement of an agreement between
                  the ANSUL distribitor & the owner.
             1 ea NOTE: Contact factory for assistance in filing COA for site specific
                  ventless approval from Fire Department New York (FDNY)
             1 ea 9999.9954 RCI Rational Certified Installation, new certified installation      $224.00       $224.00
                  cost for UltraVent is $200 for the first unit with UltraVent (Pricing
                  based on a 50 mile radius, Additional charges may apply, See attached
                  installation flyer for details) THIS ITEM IS NON‐DISCOUNTABLE. USA
                  ONLY (NET)
            12 ea 6010.1101 Gastronorm Grid Shelf, 1/1 size, 12‐3/4" x 20‐7/8", stainless         $26.00       $312.00
                  steel
                                                                                         ITEM TOTAL:       $25,717.00
   111            SPARE NO.
   112             SPARE NO.
   113             SPARE NO.
   114             SPARE NO.
   115             SPARE NO.
   116       1 ea WORK COUNTER                                                                $2,099.00      $2,099.00
                  Custom Diamond Intl. Model No. WORK COUTNER
                  Custom fabricated stainless steel work counter
                                                                                       ITEM TOTAL:          $2,099.00
   117       1 ea WALL SHELF                                                                  $541.00         $541.00
                  Custom Diamond Intl. Model No. WALL SHELF
                  Custom fabricated stainless steel wall shelf
                                                                                       ITEM TOTAL:            $541.00
   118       1 ea DIPPER WELL                                                                 $292.00         $292.00
                  Server Products Model No. 87740
                  CW, CONSERVEWELL™ MOUNTED UTENSIL HOLDER, keeps utensils
                  above 140°F, with key slot mounting brackets and (2) short‐handled,
                                                                                                           Init﻿ial: ______
Leon Restaurant ‐ 649 New York Ave                                                                           Page 9 of 15
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   Item     Qty                                 Description                                         Sell      Sell Total
                  utensil compartments: 1/9‐size, 4" deep stainless steel, pans (90106),
                  for use with plastic handled utensils and non‐gel‐filled dishers, 400
                  watts, 120v/60/1‐ph, 3.3 amps, cord, NEMA 5‐15P, cULus, NSF
             1 ea 2‐Year warranty
                                                                                        ITEM TOTAL:            $292.00
   119            SPARE NO.
   120             SPARE NO.
   121       1 ea HEATED CABINET, COUNTERTOP                                                    $3,999.00     $3,999.00
                  Prince Castle Model No. DHB2PT‐33B
                  MenuTrak Dedicated Holding Bin, countertop, pass‐thru design, (2)
                  shelf, (8) 1/3 size dual handle pans with covers (included), digital
                  display, display alert, pre‐programmed, removable pan rack, storage
                  for 6 different menus, MenuTrack food supervisory system, on/off
                  switch, (4) independently controlled heaters, stainless steel exterior
                  & cavity walls, 2600 watts, 10.8 amps, 208‐240v/50/60/1‐ph, NEMA 6‐
                  15P, UL, cUL, CE
             1 ea Standard limited one year parts and labor warranty
             8 ea 541‐1095‐1S Amber Pan, 1/3 size, 2‐1/2" deep, for single side Modular            $40.00       $320.00
                  Holding Bin (Used with MHB100HM1‐SS Module)
                                                                                          ITEM TOTAL:        $4,319.00
   122       1 ea FOOD PAN WARMER/COOKER, COUNTERTOP                                              $355.00      $355.00
                  Eagle Group Model No. 1220CWD‐120
                  RedHots® Cooker/Warmer, Countertop, Electric, (1) 12" x 20" pan
                  opening, wet & dry operation, thermostatic controls, stainless steel
                  construction, 120v/60/1‐ph, 1200w, 10.0 amps, NEMA 5‐15P, UL, NSF
                                                                                          ITEM TOTAL:          $355.00
   123       1 ea UNDERCOUNTER REFRIGERATOR                                                     $1,340.00     $1,340.00
                  Hoshizaki Model No. CRMR27
                  Commercial Series Undercounter Refrigerator, reach‐in, one‐section,
                  27" W, 7.2 cu. ft., self‐contained rear mounted refrigeration system,
                  (1) solid hinged door, (1) adjustable shelf, stainless steel interior,
                  stainless steel exterior front, sides & top, (4) 4" stem casters (2 with
                  brakes), R‐134A refrigerant, 1/6 HP, NEMA 5‐15P, ETL‐Sanitation,
                  cETLus, ENERGY STAR®
             1 ea Warranty: 3‐Year parts & labor on entire machine
             1 ea Warranty: 5‐Year parts on compressor
             1 ea 115v/60/1‐ph, 2.6 amps, standard
                                                                                          ITEM TOTAL:        $1,340.00
   124       2 ea INGREDIENT BIN                                                                  $195.00      $390.00
                  Cambro Model No. IBS20148
                  Ingredient Bin, mobile, 21 gallon capacity, molded polyethylene with
                  sliding cover, S‐hook on front (scoop NOT included), (4) 3" heavy duty
                  casters (2 front swivel, 2 fixed), with bin securely attached to base
                  plate, white with clear cover, NSF
                                                                                          ITEM TOTAL:          $390.00
   125            SPARE NO.
   126       1 ea WORK COUNTER                                                                   $788.00         $788.00
                                                                                                            Init﻿ial: ______
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   Item     Qty                                 Description                                        Sell     Sell Total
                   Custom Diamond Intl. Model No. WORK COUNTER
                   Custom Fabricated stainless steel work counter
                                                                                      ITEM TOTAL:            $788.00
   127       2 ea RICE / GRAIN COOKER                                                        $358.00         $716.00
                  Town Equipment Model No. 57155
                  RiceMaster® Rice Cooker/Steamer, electronic, 55 cup uncooked
                  capacity, one touch, auto cook/hold, cooks in 46 minutes,
                  230v/50/60/1‐ph, 15 amps, 3330 watts, ETL, NSF
                                                                                      ITEM TOTAL:            $716.00
   128       1 ea HAND SINK                                                                  $314.00         $314.00
                  Eagle Group Model No. HSAN‐10‐F
                  Hand Sink, wall mount, 9‐3/4" x 13‐1/2" x 6‐3/4" deep bowl, splash
                  mount gooseneck faucet, deep‐drawn seamless design‐positive drain,
                  inverted "V" edge, 304 stainless steel construction, NSF
                                                                                     ITEM TOTAL:             $314.00
   129            SPARE NO.
   130             SPARE NO.
   131       1 ea WORK COUNTER                                                               $2,588.00      $2,588.00
                  Custom Diamond Intl. Model No. WORK COUNTER
                  Custom fabricated work counter
                                                                                      ITEM TOTAL:          $2,588.00
   132       1 ea WALL SHELF                                                                 $282.00         $282.00
                  Custom Diamond Intl. Model No. WALL SHELF
                  Custom fabricated stainless steel wall shelf
                                                                                      ITEM TOTAL:            $282.00
   133       1 ea DIPPER WELL                                                                $292.00         $292.00
                  Server Products Model No. 87740
                  CW, CONSERVEWELL™ MOUNTED UTENSIL HOLDER, keeps utensils
                  above 140°F, with key slot mounting brackets and (2) short‐handled,
                  utensil compartments: 1/9‐size, 4" deep stainless steel, pans (90106),
                  for use with plastic handled utensils and non‐gel‐filled dishers, 400
                  watts, 120v/60/1‐ph, 3.3 amps, cord, NEMA 5‐15P, cULus, NSF
             1 ea 2‐Year warranty
                                                                                        ITEM TOTAL:          $292.00
   134       1 ea HEATED CABINET, COUNTERTOP                                                  $3,999.00     $3,999.00
                  Prince Castle Model No. DHB2PT‐33B
                  MenuTrak Dedicated Holding Bin, countertop, pass‐thru design, (2)
                  shelf, (8) 1/3 size dual handle pans with covers (included), digital
                  display, display alert, pre‐programmed, removable pan rack, storage
                  for 6 different menus, MenuTrack food supervisory system, on/off
                  switch, (4) independently controlled heaters, stainless steel exterior
                  & cavity walls, 2600 watts, 10.8 amps, 208‐240v/50/60/1‐ph, NEMA 6‐
                  15P, UL, cUL, CE
             1 ea Standard limited one year parts and labor warranty
             8 ea 541‐1095‐1S Amber Pan, 1/3 size, 2‐1/2" deep, for single side Modular          $40.00       $320.00
                  Holding Bin (Used with MHB100HM1‐SS Module)
                                                                                        ITEM TOTAL:         $4,319.00
                                                                                                          Init﻿ial: ______
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   Item     Qty                                 Description                                         Sell      Sell Total
   135       1 ea REACH‐IN UNDERCOUNTER FREEZER                                                 $1,613.00     $1,613.00
                  Hoshizaki Model No. CRMF27‐LP
                  Commercial Series Undercounter Freezer, reach‐in, one‐section, 27"
                  W, 7.2 cu. ft., self‐contained rear mounted refrigeration system, (1)
                  solid hinged door, (1) adjustable shelf, stainless steel interior,
                  stainless steel exterior front, sides & top, (4) 2‐1/4" stem casters (2
                  with brakes), R‐134A refrigerant, 1/5 HP, NEMA 5‐15P, cETLus, ETL‐
                  Sanitation, cULus‐ENERGY
             1 ea Warranty: 3‐Year parts & labor on entire machine
             1 ea Warranty: 5‐Year parts on compressor
             1 ea 115v/60/1‐ph, 3.4 amps, standard
                                                                                          ITEM TOTAL:        $1,613.00
   136            SPARE NO.
   137             SPARE NO.
   138       2 ea SANDWICH / PANINI GRILL                                                       $1,180.00     $2,360.00
                  Star Model No. PGT14
                  Pro‐Max 2.0® Sandwich Grill, 14.5" W x 14.2"D grooved aluminum
                  cooking surface, performance torsion spring hinge with ergonomic
                  curved handle, analog 175‐550°F thermostat control, low profile,
                  removable grease drawer, stainless steel exterior, non‐skid feet,
                  cULus, UL EPH Classified, Made in USA (old model reference: CG14 and
                  CG14B)
             2 ea 1 year parts & labor warranty, standard
             2 ea 120v/50/60/1‐ph, 1.8 kW, 15.0 amps, cord, NEMA 5‐15P, standard
                                                                                          ITEM TOTAL:        $2,360.00
   139       1 ea FRENCH FRY WARMER                                                             $4,301.00    $4,301.00
                  Carter‐Hoffmann Model No. CNH28
                  Crisp N Hold Fried Food Station, 4 sections, circulated air heating, 1780
                  cubic in.
             1 ea 1 Year parts & labor warranty, standard
             1 ea 208v/60/1‐ph, 2890 watts, 14.0 amps, NEMA 6‐20P, standard
                                                                                          ITEM TOTAL:        $4,301.00
   140       1 ea UNDERCOUNTER REFRIGERATOR                                                     $1,340.00    $1,340.00
                  Hoshizaki Model No. CRMR27
                  Commercial Series Undercounter Refrigerator, reach‐in, one‐section,
                  27" W, 7.2 cu. ft., self‐contained rear mounted refrigeration system,
                  (1) solid hinged door, (1) adjustable shelf, stainless steel interior,
                  stainless steel exterior front, sides & top, (4) 4" stem casters (2 with
                  brakes), R‐134A refrigerant, 1/6 HP, NEMA 5‐15P, ETL‐Sanitation,
                  cETLus, ENERGY STAR®
             1 ea Warranty: 3‐Year parts & labor on entire machine
             1 ea Warranty: 5‐Year parts on compressor
             1 ea 115v/60/1‐ph, 2.6 amps, standard
                                                                                          ITEM TOTAL:        $1,340.00
   141            SPARE NO.
   142             SPARE NO.
   143             SPARE NO.
                                                                                                            Init﻿ial: ______
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   Item     Qty                                  Description                                         Sell      Sell Total

   144             SPARE NO.
   145             SPARE NO.
   146       1 ea OPEN DISPLAY MERCHANDISER                                                      $5,487.00     $5,487.00
                  Turbo Air Model No. TOM‐36EB‐N
                  Vertical Air Curtain, 17.7 cu. ft. capacity, 36" W x 29‐7/8" D X 81‐1/8" H,
                  self‐cleaning condenser device, LED interior lighting, open front,
                  white coated galvanized steel interior, non‐peel anti‐rust exterior
                  coating, energy saving night curtain standard, self‐contained, plug‐in
                  installation, front air intake & rear air discharge, hot gas condensate
                  system, (4) adjustable white coated solid shelves, black exterior, R290
                  Hydrocarbon refrigerant, (2) 3/4 HP, 115v/60/1‐ph, 15.5 amps, NEMA 5‐
                  20P, CSA‐Sanitation, cCSAus
             1 ea Note: Contact factory representative for parts and accessories
                  discounts
             1 ea 2 year parts & labor warranty, standard
             1 ea Additional 3 year compressor warranty (5 year total), standard
             1 ea Self‐cleaning condenser device equipped, standard
             1 ea Black powder coated steel, standard
             1 ea White coated galvanized steel with white solid shelves, standard
             1 ea Energy saving clear night curtain, standard
                                                                                           ITEM TOTAL:        $5,487.00
   147       1 ea PASS THRU HOLDING CABINET                                                     $11,379.00   $11,379.00
                  Custom Diamond Intl. Model No. PASS SHELF
                  Custom fabricated stainless steel warming cabinet
                                                                                           ITEM TOTAL:       $11,379.00
   148       1 ea COFFEE COUNTER                                                                 $1,610.00    $1,610.00
                  Custom Diamond Intl. Model No. COUNTER
                  Custom fabricated stainless steel coffee counter
                                                                                           ITEM TOTAL:        $1,610.00
   149            COFFEE BREWER
                  By Others
   150             TEA DISPENSER
                   Deleted by Owner
   151             SPARE NO.
   152             SPARE NO.
   153       1 ea COFFEE GRINDER                                                              $903.00            $903.00
                  BUNN Model No. 05800.0027
                  05800.0027 G9T HD Coffee Grinder, portion control, brewer interface,
                  single 9 lb hopper, stainless decor, accepts large brew funnels for
                  System III, Dual & other large Bunn® Brewers, 3/4 HP, 120v/60/1‐ph,
                  9.4amps, NEMA 5‐15P, cord attached, UL, ETL
             1 ea Equipment discount category net prices must be rounded to the
                  nearest dollar
                                                                                      ITEM TOTAL:               $903.00
   154       1 ea COFFEE BREWER                                                             $1,357.00          $1,357.00
                  BUNN Model No. 37600.0004
                                                                                                             Init﻿ial: ______
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   Item     Qty                                   Description                                         Sell      Sell Total
                    37600.0004 ICB‐TWIN Infusion Series® Coffee Brewer, brews 18.9
                    gallons per hour capacity, (3) brew buttons, (2) programmable full/half
                    batch switches, smart funnel, brews into 2.5 to 3.8 litre airpots & 1 to
                    1.5 gallon baseless TF servers (sold separately), digital display in
                    English/Spanish, energy‐saver mode, black finish, 120/240v/60/1‐ph,
                    6000w, 25 amps, cord attached, UL, NSF
             1 ea   Equipment discount category net prices must be rounded to the
                    nearest dollar
             2 ea   42750.0050 42750.0050 TF ThermoFresh® Server with Digital Sight                 $260.00       $520.00
                    Gauge, without base, 1.5 gallon, portable, brew‐through lid, pour
                    spout, volume indicator display, 4‐hour digital count‐up timer, drip‐
                    tray, fast flow faucet, soft‐grip bail handle, vacuum insulated, battery
                    operated, stainless steel finish, for use with Infusion Coffee Brewer
                    (ICB), NSF
             1 ea   39795.0003 39795.0003 TF Server Stand                                            $64.00       $64.00
                                                                                            ITEM TOTAL:        $1,941.00
   155       1 ea   UNDERCOUNTER REFRIGERATOR                                                     $1,340.00    $1,340.00
                    Hoshizaki Model No. CRMR27
                    Commercial Series Undercounter Refrigerator, reach‐in, one‐section,
                    27" W, 7.2 cu. ft., self‐contained rear mounted refrigeration system,
                    (1) solid hinged door, (1) adjustable shelf, stainless steel interior,
                    stainless steel exterior front, sides & top, (4) 4" stem casters (2 with
                    brakes), R‐134A refrigerant, 1/6 HP, NEMA 5‐15P, ETL‐Sanitation,
                    cETLus, ENERGY STAR®
             1 ea   Warranty: 3‐Year parts & labor on entire machine
             1 ea   Warranty: 5‐Year parts on compressor
             1 ea   115v/60/1‐ph, 2.6 amps, standard
                                                                                            ITEM TOTAL:        $1,340.00
   156       1 ea   ICE BIN / ICE CADDY , MOBILE                                                    $540.00      $540.00
                    Cambro Model No. ICS100L110
                    SlidingLid™ Ice Caddy, mobile, 28‐3/4"H, 100 lb. capacity, slant top
                    slides up/back into secured top, foam insulation, molded in side grips,
                    lift grips front/back, drain shelf, recessed drain faucet, no assembly
                    required, (4) 5" caster (2 swivel, 2 fixed with brakes), black, NSF
                                                                                            ITEM TOTAL:          $540.00
   157              SPARE NO.
   158              SPARE NO.
   159              KDS SCREEN
                    By Others
   160              POS
                    By Others
   900       1 ea REFRIGERATION INSTALLATION                                                  $11,438.00      $11,438.00
                  Singer Equipment Model No. REFRIG INSTALL
                  Labor & materials to receive, uncrate, set remote compressors, hang
                  evaporator coils, heat trace & insulate the freezer drain line, start up
                  and calibration of (2) walk‐in systems.
                                                                                         ITEM TOTAL:          $11,438.00
                                                                                                              Init﻿ial: ______
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                                                                               Merchandise             $143,456.00
                                                                               Freight                   $8,450.00
                                                                               Installation             $11,750.00
                                                                               Tax 6%                    $9,819.36
                                                                               Total                   $173,475.36
             TERMS: 40% DEPOSIT, BALANCE PRIOR TO DELIVERY.

             DELIVERY AND INSTALLATION NON‐UNION
             Sales tax shown is Singer Equipment best estimate, actual sales tax will be calculated
             added to final invoice based on local tax codes and ordinances.
             Delivery and installation is included for all items supplied by Singer Equipment in the
             foregoing Schedule of Equipment and is provided for with noted exceptions as follows:
             Hoods / fans will be delivered to site only. Hanging hoods is by others.
             Delivery and installation is made during normal day time working hours, Monday through
             Friday inclusive.
             All plumbing, electrical and general contracting work, whether rough‐in or final
             connections, are to be done by others and are not to be considered as part of this
             contract.
             The contract is based on weekly notification of scheduled equipment installation with
             sufficient lead time to properly schedule the fabrication and delivery of equipment.
             The building is presumed prepared in all aspects for equipment installation when
             notified to install, including the following:
             1. Building access for truck and trailer, crane and equipment.
             2. Building security, including doors, windows and other openings.
             3. Floor preparation including concrete work, curbs and quarry tile.
             4. Wall preparation including drywall, plaster, paint, and wall vinyl.
             5. Ceiling preparation, including paint, ceiling tile and light fixtures.
             6. Roof preparation, including curbs, platforms and final roofing surface.
             7. Duct shafts, including framing, plaster and inspection approval.
             8. Electrical wire in conduit ready for final hook up to fixtures.
             9. All plumbing and electrical final connections on equipment by others.
             10. All flashing and water proofing of walk in is by others
             11. Receiving, unloading and installation of hoods is by the GC. Any freight damage
             must be reported upon receipt of hoods and noted on packing slip.
             All permits, fees, approval and reviews are the responsibility of the buyer.The equipment
             listed above is specifically ordered or manufactured for this project. It is not cancelable
             or returnable and will be subject to restocking and return freightCalibration of
             equipment is not considered a warranty item by the factories. Any calibrations necessary
             are the responsibility of the buyer.We do not include the removal of any doors, door
             frames, windows, or window frames, to allow access to the installation location; this is
             the responsibility of the buyer.Equipment damaged after delivery by the other trades is
             the responsibility of the buyer, or the party damaging the equipment, not Singer
             Equipment Company, Inc.
             If payment is being made by credit card, additional charges may apply of up to 4%.



         Acceptance:                                                     Date:
         Printed Name:




                                                                                                           Init﻿ial: ______
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 Fill in this information to identify the case:

 Debtor name         LEON USA Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DISTRICT OF COLUMBIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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             Case 21-00034-ELG                         Doc 1          Filed 02/02/21 Entered 02/02/21 18:29:21                                     Desc Main
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 Fill in this information to identify the case:

 Debtor name         LEON USA Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DISTRICT OF COLUMBIA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,715.69
           Airgas USA LLC                                                       Contingent
           2900 52nd Ave                                                        Unliquidated
           Hyattsville, MD 20781                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      7997
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $30.20
           Alsco                                                                Contingent
           4900 Philadelphia Way                                                Unliquidated
           Lanham, MD 20706                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Laundry services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $7,128.75
           Aria Group Architects                                                Contingent
           830 North Boulevard                                                  Unliquidated
           Oak Park, IL 60301                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      4751
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,058.12
           Brinks                                                               Contingent
           555 Dicidend Drive                                                   Unliquidated
           Coppell, TX 75019                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      7610
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 6
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 Debtor       LEON USA Inc.                                                                           Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $151.93
          BroadAspect                                                           Contingent
          22376 Broderick Drive                                                 Unliquidated
          Sterling, VA 20166                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Broadband
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $275,944.26
          Brookfield Properties                                                 Contingent
          655 New York Avenue NW                                                Unliquidated
          Suite 800                                                             Disputed
          Washington, DC 20001
                                                                             Basis for the claim:    unpaid rent
          Date(s) debt was incurred 2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Centegra                                                              Contingent
          Weston Centre, Weston Rd                                              Unliquidated
          Crewe                                                                 Disputed
          CW1 6FL United Kingdom
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $176.44
          Coastal Sunbelt Produce                                               Contingent
          9001 Whiskey Rd                                                       Unliquidated
          Laurel, MD 20723                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,287.76
          Cogent                                                                Contingent
          PO Box 791087                                                         Unliquidated
          Baltimore, MD 21279                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Broadband
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $390.05
          Comcast Business                                                      Contingent
          900 Michigan Ave NE                                                   Unliquidated
          Washington, DC 20017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Broadband
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,023.07
          ComplianceMate                                                        Contingent
          PO Box 492182                                                         Unliquidated
          Lawrenceville, GA 30049                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 6
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              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,322.28
          Crow Works                                                            Contingent
          9595 US 62                                                            Unliquidated
          Killbuck, OH 44637                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Furniture
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,052.13
          Ecolab                                                                Contingent
          PO Box 32027                                                          Unliquidated
          New York, NY 10087                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Consumables
          Last 4 digits of account number       3111
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $46,538.80
          First Insurance Funding                                               Contingent
          450 SkokiBlvd, Ste 1000                                               Unliquidated
          Northbrook, IL 60062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $521.25
          Fourth USA                                                            Contingent
          9007 Brittany Way                                                     Unliquidated
          Tampa, FL 33619                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Stock system
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $210.00
          Gordy's Pickle Jar LLC                                                Contingent
          1212 W Street NW                                                      Unliquidated
          Washington, DC 20009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $645.09
          HSBC Bank USA, N.A.                                                   Contingent
          PO Box 9                                                              Unliquidated
          Buffalo, NY 14240                                                     Disputed
          Date(s) debt was incurred 1/1/21
                                                                             Basis for the claim:    credit card
          Last 4 digits of account number 9775
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $482.97
          Image 360                                                             Contingent
          9176 Red Branch Rd                                                    Unliquidated
          Columbia, MD 21045                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Printer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 6
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              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,605.35
          International Food Link                                               Contingent
          Montrose Rd                                                           Unliquidated
          Chelmsford, Essex                                                     Disputed
          CM2 6TE UK
                                                                             Basis for the claim:    Importer
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $9,949,406.00
          LEON Restaurants, Ltd                                                 Contingent
          27 Copperfield St                                                     Unliquidated
          London England                                                        Disputed
          SE1 0EN
                                                                             Basis for the claim:    Intercompany loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $351.00
          Mediterranean Goods Inc.                                              Contingent
          6464-D General Green Way                                              Unliquidated
          Alexandria, VA 22312                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $409.35
          Mount Hope Wholesale Inc                                              Contingent
          853 S Main St                                                         Unliquidated
          Cottonwood, AZ 86326                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $111.50
          Olympus Food Distributors                                             Contingent
          621 S Picket St                                                       Unliquidated
          Alexandria, VA 22304                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $318.00
          OnSource                                                              Contingent
          1900 Fenwick St NE                                                    Unliquidated
          Washington, DC 20002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $445.50
          Panorama Loeic Artison Baker LLC                                      Contingent
          8833 Ashwood Dr                                                       Unliquidated
          Capitol Heights, MD 20791                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 6
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              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,331.18
          Pepco                                                                 Contingent
          701 9th St NW                                                         Unliquidated
          Washington, DC 20002                                                  Disputed
          Date(s) debt was incurred 1/19/21
                                                                             Basis for the claim:    utility bills
          Last 4 digits of account number 7606
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $481.80
          Perfect Brew                                                          Contingent
          1547 Ridgely Street                                                   Unliquidated
          Baltimore, MD 21230                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,759.50
          Soupergirl                                                            Contingent
          314 Varroll St NW                                                     Unliquidated
          Washington, DC 20012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,216.50
          Sunbelt Natural Food Distributors Inc                                 Contingent
          1767 Benbow Crt                                                       Unliquidated
          Apopka, FL 32703                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $514.00
          Swing's Coffee Roasters                                               Contingent
          501 E Monroe                                                          Unliquidated
          Alexandria, VA 22301                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,028.50
          The Plasteridge Agency                                                Contingent
          10337 N Military Trail                                                Unliquidated
          Palm Beach Gardens, FL 33410                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,280.70
          Triangle Sign & Service                                               Contingent
          11 Azar Ct                                                            Unliquidated
          Halethorpe, MD 21227                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Signage contractor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 6
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              Name

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                Unknown
           Trimark                                                              Contingent
           1901 Stanford Crt                                                    Unliquidated
           Hyattsville, MD 20785                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Packaging vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                Unknown
           VitaMojo                                                             Contingent
           60 Cheapside                                                         Unliquidated
           London UK                                                            Disputed
           EC2V 6AX
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $37.81
           Washington Gas                                                       Contingent
           6801 Industrial Road                                                 Unliquidated
           Springfield, VA 22151                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Energy supplier
           Last 4 digits of account number      9285
                                                                             Is the claim subject to offset?       No     Yes

 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $5,217.00
           Withum CPA                                                           Contingent
           4600 East West Highway                                               Unliquidated
           Ste 900                                                              Disputed
           Bethesda, MD 20814
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      7896                         Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                   10,360,192.48

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      10,360,192.48




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         LEON USA Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DISTRICT OF COLUMBIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   rental lease expires
             lease is for and the nature of               7/31/2034
             the debtor's interest

                  State the term remaining                                           Brookfield Properties
                                                                                     655 New York Avenue NW
             List the contract number of any                                         Suite 800
                   government contract                                               Washington, DC 20001




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         LEON USA Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DISTRICT OF COLUMBIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         LEON USA Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DISTRICT OF COLUMBIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  $1,384.00
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $120,319.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $246,948.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       LEON USA Inc.                                                                             Case number (if known)



       Creditor's Name and Address                                          Dates                Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Please see the attached list                                                                        $0.00              Secured debt
               Exhibit A                                                                                                              Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                               Value

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               Recipient's name and address                      Description of the gifts or contributions                  Dates given                     Value

       9.1.    Martha's Table                                    Donations made as part of new
               2375 Elvans Road SE                               restaurant opening
               Washington, DC 20020                                                                                         August 2019               $2,500.00

               Recipients relationship to debtor



       9.2.    Center for Black Equity                           $1 for every Love Burger sold
               PO Box 77313
               Washington, DC 20013                                                                                         7/6/20                      $316.00

               Recipients relationship to debtor




 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    JLL Restructuring Services
                Mark Richardson
                One Front Street, 21st Fl                                                                                      January
                San Francisco, CA 94111                                                                                        2021                   $5,000.00

                Email or website address


                Who made the payment, if not debtor?




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                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.2.    Whitford, Taylor & Preston
                3190 Fairview Park Drive
                Suite 800                                                                                                      January
                Falls Church, VA 22042                                                                                         2021                   $4,500.00

                Email or website address


                Who made the payment, if not debtor?
                Leon Restaurants, Ltd


       11.3.    Whiteford, Taylor & Preston,
                LLP
                3190 Fairview Park Drive                                                                                       December
                Falls Church, VA 22042                                                                                         2020                   $5,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?



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            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None



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 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Christopher Burford                                                                                                        Aug 2018 - current
                    Leon Restaurants, Ltd.
                    27 Copperfield St
                    London England SE1 0EN

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.



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              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Glenn Bailey CPA                                                                                                     Aug 2018 - current
                    WITHUM
                    1800 Diagonal Rd, Ste 495
                    Alexandria, VA 22314

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Glenn Edwards                                  58 15th St NE                                       President/ Officer
                                                      Washington, DC 20002



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Antony Perring                                 27 Copperfield St                                   Officer/ CFO                      Aug 2018 - Jan
                                                      London UK                                                                             2021
                                                      SE1 0EN

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.




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       Date                  Creditor/Supplier                      Description                Amount
    11/26/2020   1350 I Street Associates               I Street Rent                      $      13,268.67
    12/16/2020   1350 I Street Associates               I Street Rent                      $      10,607.75
                                                                                           $      23,876.42

    11/27/2020   A&E Plumbing                           Maintenance                        $         810.00
    12/16/2020   A&E Plumbing                           Maintenance                        $         810.00
                                                                                           $       1,620.00

    11/2/2020    Alsco                                  Uniforms - Laundry                 $         322.18
    11/27/2020   Alsco                                  Uniforms - Laundry                 $       1,858.55
    12/16/2020   Alsco                                  Uniforms - Laundry                 $       1,253.92
    1/20/2021    Alsco                                  Uniforms - Laundry                 $         237.87
                                                                                           $       3,672.52

    11/2/2020    Apple                                  Tech Equipment                     $         995.34
                                                                                           $         995.34

    11/2/2020    Centegra                               Silver Centegra                    $       2,600.00
    11/27/2020   Centegra                               Silver Centegra                    $         850.00
    12/16/2020   Centegra                               Silver Centegra                    $       1,751.89
    1/20/2021    Centegra                               Silver Centegra                    $       1,230.00
                                                                                           $       6,431.89

    11/2/2020    Coastal Sunbelt Produce                Food Stock                         $       1,570.16
    11/27/2020   Coastal Sunbelt Produce                Food Stock                         $       2,772.91
                                                                                           $       4,343.07

    11/2/2020    Cogent Communications                  Broadband                          $         425.00
    12/16/2020   Cogent Communications                  Internet                           $       1,281.38
    1/20/2021    Cogent Communications                  Internet                           $         431.48
                                                                                           $       2,137.86

    11/2/2020    Compliance Mate LLC                    Tech/ Internet Setup               $       1,919.13
                                                                                           $       1,919.13

     2/1/2021    DC Office of Tax & Revenue             DC Sales Tax                       $         608.22
                                                                                           $         608.22

    12/16/2020   Discovery Documents                    Printing                           $       2,574.68
                                                                                           $       2,574.68

    11/2/2020    East Coast Food Equipment              Cutlery                            $         237.47
    11/27/2020   East Coast Food Equipment              Cutlery                            $          79.16
    12/16/2020   East Coast Food Equipment              Cutlery                            $         545.42
                                                                                           $         862.05

    11/2/2020    Ecolab                                 Pest Control/ Cleaning Materials   $         879.43
    11/6/2020    Ecolab                                 Pest Control                       $       1,464.92
    11/27/2020   Ecolab                                 Pest Control/Cleaning Materials    $         452.87
    12/16/2020   Ecolab                                 Pest Control/Cleaning Materials    $         688.93
    1/20/2021    Ecolab                                 Pest Control/ Cleaning Materials   $       1,632.85
                                                                                           $       5,119.00

    11/2/2020    Fourth USA                             Workforce Monthly Analytics        $       2,084.99
                                                                                           $       2,084.99

    11/2/2020    Gordy's Pickle Jar                     Food Stock                         $       2,045.00
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       Date                  Creditor/Supplier                       Description       Amount
    11/27/2020   Gordy's Pickle Jar                     Food Stock                 $       1,300.00
    12/16/2020   Gordy's Pickle Jar                     Food Stock                 $       1,520.00
    1/20/2021    Gordy's Pickle Jar                     Food Stock                 $       1,090.00
                                                                                   $       5,955.00

    12/16/2020   Guardian Fire                          Maintenance                $         742.00
                                                                                   $         742.00

    11/27/2020   Image 360                              Graphics                   $       4,275.68
                                                                                   $       4,275.68

    12/16/2020   JLL                                    Consultancy                $       1,600.00
    1/29/2021    JLL                                    Restructuring              $       5,000.00
                                                                                   $       6,600.00

    11/27/2020   Marcelo Burtron                        HAS                        $          50.00
    12/16/2020   Marcelo Burtron                        HAS - WK50 & WK52          $         100.00
    11/2/2020    Marcelo Butron                         HSA                        $          50.00
    1/20/2021    Marcelo Butron                         HSA - WK1 & WK3            $         100.00
                                                                                   $         300.00

    12/16/2020   Midland Glass                          Glass Unit                 $         170.34
                                                                                   $         170.34

    12/16/2020   Mount Hope Wholesale                   Food Stock                 $         128.50
    11/2/2020    MountHope Wholesale                    Food Stock                 $         679.70
                                                                                   $         808.20

    11/2/2020    Olympus Food                           Food Stock                 $         776.75
    11/27/2020   Olympus Food                           Food Stock                 $         412.30
    12/16/2020   Olympus Food                           Food Stock                 $         617.25
    1/20/2021    Olympus Food                           Food Stock                 $          103.60
                                                                                   $        1,909.90

    11/2/2020    One Source LLC                         Mosaic installation        $       2,500.00
    11/6/2020    One Source LLC                         Mosaic installation        $       8,498.20
                                                                                   $      10,998.20

    11/2/2020    Panorama Baker                         Food Stock                 $       1,614.51
    11/27/2020   Panorama Baker                         Food Stock                 $       1,024.59
    12/16/2020   Panorama Baker                         Food Stock                 $       1,953.20
    1/20/2021    Panorama Baker                         Food Stock                 $       1,062.00
                                                                                   $       5,654.30

    11/27/2020   Performance Food - L Street            Food Stock                 $       3,894.26
    12/16/2020   Performance Food - L Street            Food Stock                 $       2,826.70
    1/20/2021    Performance Food - L Street            Food Stock                 $       5,442.66
    11/27/2020   Performance Food - Mosaic              Food Stock                 $       9,859.05
    12/16/2020   Performance Food - Mosaic              Food Stock                 $      11,099.29
    1/20/2021    Performance Food - Mosaic              Food Stock                 $       8,155.83
    11/27/2020   Performance Food - NY Ave              Food Stock                 $       1,682.46
    12/16/2020   Performance Food - NY Ave              Food Stock                 $       1,408.48
                                                                                   $      44,368.73

    1/20/2021    PK Law                                 Professional Services      $         708.50
                                                                                   $         708.50
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      Date                     Creditor/Supplier                       Description           Amount
    11/2/2020    Profish                                  Fish Stock                     $        173.65
                                                                                         $        173.65

    11/27/2020   Robert's Oxygen                          Oxygen/CO2                     $        166.58
    12/16/2020   Robert's Oxygen                          Carbon Dioxide                 $         63.60
                                                                                         $        230.18

    11/27/2020   Runners Inc                              Courier                        $        280.94
                                                                                         $        280.94

    11/2/2020    Swing's Coffee                           Coffee Stock                   $       1,887.98
    11/27/2020   Swing's Coffee                           Coffee Stock                   $         132.00
    12/16/2020   Swing's Coffee                           Coffee Stock                   $         400.00
    1/20/2021    Swing's Coffee                           Coffee Stock                   $         150.00
                                                                                         $       2,569.98

    11/27/2020   Triangle Sign                            Signage - Mosaic               $      19,280.70
                                                                                         $      19,280.70

    11/27/2020   TriMark                                  Smallware Equipment - mosaic   $      17,212.95
    12/16/2020   TriMark                                  Smallware Equipment            $       8,530.36
    1/20/2021    TriMark                                  Smallware Equipment            $         361.92
                                                                                         $      26,105.23

     2/1/2021    VA Dep't of Taxation                     Virgina Sales Tax              $       4,906.86
     2/1/2021    VA Dep't of Taxation                     Virgina Sales Tax              $       4,266.04
     2/1/2021    VA Dep't of Taxation                     Virgina Sales Tax              $       3,301.43
     2/1/2021    VA Dep't of Taxation                     Virgina Sales Tax              $       2,713.00
     2/1/2021    VA Dep't of Taxation                     Virgina Sales Tax              $       2,164.85
     2/1/2021    VA Dep't of Taxation                     Virgina Sales Tax              $       2,005.82
                                                                                         $      19,358.00
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                                       Resolution of the Sole Shareholder
                                                       of
                                               LEON USA, Inc.

        Whereas that it is in the best interest of LEON USA, Inc. (the "Company'') to file Chapter 7 bankruptcy
and to cause the Company to effectuate the Chapter 7 bankruptcy filing for LEON Falafel, LLC, LEON Mosaic,
LLC, and LEON Meatballs, LLC (the "Subsidiaries"); and

       Be It Therefore Resolved, that Glenn Edwards, President of the Company, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy case on
behalf of the Company and each of the Subsidiaries; and

       Be It Further Resolved, that Glenn Edwards, President of the Company, is authorized and directed to
appear in all bankruptcy proceedings on behalf of the Company and each of the Subsidiaries, and to otherwise do-----;_
and perform all acts and deeds and to execute and deliver all necessary documents on behalf of the Company in         '\
such bankruptcy cases; and

       Be It Further Resolved, that Glenn Edwards, President of the Company is authorized and directed to
employ Christopher A. Jones (VSB No. 40064) and the law firm of Whiteford, Taylor & Preston, LLP to
represent the Company and each of the Subsidiaries in such bankruptcy cases.




                                                     Signed   -:-::~~~..i....==~~------.;;;::,,--
                                                               LEON Restaurants D,
                                                              Sole Shareholder of LEON USA, Inc.

                                                              By: Christopher Burford

                                                              Its: CFO
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                                                             LOCAL OFFICIAL FORM NO. 10
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                     FOR THE DISTRICT OF COLUMBIA
 In re                                                                                                )
 LEON USA Inc.                                                                                        )       Case No.
                                                                                                      )
                                                                                                      )           Chapter   7
                                                                         Debtor(s).                   )

                                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              Flat Fee
             For legal services, I have agreed to accept                                                          $             4,500.00
             Prior to the filing of this statement I have received                                                $             4,500.00
             Balance Due                                                                                          $                 0.00

              Hourly Fee
             For legal services, I have agreed to accept and received a retainer of                               $
             The undersigned shall bill against the retainer at an hourly rate of                    $
             [Or attach firm hourly rate schedule.] as such rate may change over time based on
             periodic increases.
             Debtor has agreed to pay all approved fees and expenses exceeding the amount of the retainer, subject to those fees and expenses being
             approved by the court (when court approval is required) for work performed in a chapter 11 case or chapter 13 case. Payments of fees and
             expenses exceeding the retainer, other than payment of amounts approved for payment by court order, will be disclosed by a supplemental
             Rule 2016(b) statement.

              Pro Bono Representation

 I have agreed to provide services without compensation




                                 *****************************************************************************
                                The debtor                has             has not agreed to reimburse expenses.




2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Leon Restaurants, Ltd - please see attachment.

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

3.     With respect to the compensation described herein:

            I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.




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            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 2, 2021
     Date                                                                       Christopher A. Jones
                                                                                Signature of Attorney
                                                                                Whiteford, Taylor & Preston LLP
                                                                                3190 Fairview Park Drive
                                                                                Suite 800
                                                                                Falls Church, VA 22042-4510

                                                                                Name of law firm




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                                Addendum to Local Official Form No. 10

In December, 2020, LEON USA, Inc. (“LEON USA”) retained Whiteford Taylor & Preston, LLP (“WTP”) on
an hourly basis to advise it and its subsidiary companies (the “Subsidiaries”) on a potential financial
restructuring. WTP received a $5,000.00 retainer from LEON USA for this engagement. Subsequently,
WTP received a $2,006.41 wire transfer to cover estimated expenses for various Delaware corporate
filing fees on behalf of LEON USA and the Subsidiaries. On February 1, 2021, WTP applied the retainer to
its fees for this engagement and reimbursed itself for the expenses advanced to the state of Delaware.

Separately, on January 26, 2021, LEON USA and of the Subsidiaries retained WTP to file chapter 7
bankruptcy cases at a fixed fee of $4,500.00 for each case, which includes payment of the filing fees. On
January 29, 2021, LEON Restaurants, Ltd. paid each of the four $4,500 fixed fees. Immediately before
filing the bankruptcy cases, WTP paid itself the $4,500.00 in each case.
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                                                                     District of District of Columbia
 In re      LEON USA Inc.                                                                               Case No.
                                                                                   Debtor(s)            Chapter    7


                                                 LIST OF CREDITORS AND MAILING MATRIX


                        1.           The attached list, serving both as the list required by Rule

                        1007(a)(1) of the Federal Rules of Bankruptcy Procedure and as the

                        mailing matrix required by the court's local Bankruptcy Rules, consists

                        of       4     pages and a total of                 36   entities listed.


                        2.           The attached list contains a true and correct name and address of:

                                           each of my creditors (those entities required to be scheduled on

                                           Schedules D, E, and F, the Schedules of Creditors Holding

                                           Claims, in this case),


                                           each of the parties required to be listed on Schedule G -

                                           Executory Contracts and Unexpired Leases, that is, the parties

                                           other than myself, to any unexpired lease of real or personal

                                           property to which I am a party;




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     Airgas USA LLC
     2900 52nd Ave
     Hyattsville, MD 20781



     Alsco
     4900 Philadelphia Way
     Lanham, MD 20706



     Aria Group Architects
     830 North Boulevard
     Oak Park, IL 60301



     Brinks
     555 Dicidend Drive
     Coppell, TX 75019



     BroadAspect
     22376 Broderick Drive
     Sterling, VA 20166



     Brookfield Properties
     655 New York Avenue NW
     Suite 800
     Washington, DC 20001



     Centegra
     Weston Centre, Weston Rd
     Crewe
     CW1 6FL United Kingdom



     Coastal Sunbelt Produce
     9001 Whiskey Rd
     Laurel, MD 20723



     Cogent
     PO Box 791087
     Baltimore, MD 21279
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 Comcast Business
 900 Michigan Ave NE
 Washington, DC 20017



 ComplianceMate
 PO Box 492182
 Lawrenceville, GA 30049



 Crow Works
 9595 US 62
 Killbuck, OH 44637



 Ecolab
 PO Box 32027
 New York, NY 10087



 First Insurance Funding
 450 SkokiBlvd, Ste 1000
 Northbrook, IL 60062



 Fourth USA
 9007 Brittany Way
 Tampa, FL 33619



 Gordy's Pickle Jar LLC
 1212 W Street NW
 Washington, DC 20009



 HSBC Bank USA, N.A.
 PO Box 9
 Buffalo, NY 14240



 Image 360
 9176 Red Branch Rd
 Columbia, MD 21045
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 International Food Link
 Montrose Rd
 Chelmsford, Essex
 CM2 6TE UK



 LEON Restaurants, Ltd
 27 Copperfield St
 London England
 SE1 0EN



 Mediterranean Goods Inc.
 6464-D General Green Way
 Alexandria, VA 22312



 Mount Hope Wholesale Inc
 853 S Main St
 Cottonwood, AZ 86326



 Olympus Food Distributors
 621 S Picket St
 Alexandria, VA 22304



 OnSource
 1900 Fenwick St NE
 Washington, DC 20002



 Panorama Loeic Artison Baker LLC
 8833 Ashwood Dr
 Capitol Heights, MD 20791



 Pepco
 701 9th St NW
 Washington, DC 20002



 Perfect Brew
 1547 Ridgely Street
 Baltimore, MD 21230
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 Soupergirl
 314 Varroll St NW
 Washington, DC 20012



 Sunbelt Natural Food Distributors Inc
 1767 Benbow Crt
 Apopka, FL 32703



 Swing's Coffee Roasters
 501 E Monroe
 Alexandria, VA 22301



 The Plasteridge Agency
 10337 N Military Trail
 Palm Beach Gardens, FL 33410



 Triangle Sign & Service
 11 Azar Ct
 Halethorpe, MD 21227



 Trimark
 1901 Stanford Crt
 Hyattsville, MD 20785



 VitaMojo
 60 Cheapside
 London UK
 EC2V 6AX



 Washington Gas
 6801 Industrial Road
 Springfield, VA 22151



 Withum CPA
 4600 East West Highway
 Ste 900
 Bethesda, MD 20814
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 In re      LEON USA Inc.                                                                                  Case No.
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for LEON USA Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Leon Restaurants, Ltd.
 27 Copperfield Street
 London
 England
 SE1 0EN




    None [Check if applicable]




 February 2, 2021
 Date                                                                  Christopher A. Jones
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for LEON USA Inc.
                                                                       Whiteford, Taylor & Preston LLP
                                                                       3190 Fairview Park Drive
                                                                       Suite 800
                                                                       Falls Church, VA 22042-4510




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